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14
                            UNITED STATES DISTRICT COURT
15

16                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
17

18
      UNITED STATES OF AMERICA,                )   Case No.: CR 13-106(A)-DOC
19                                             )
20                                             )
           Plaintiff,                          )   DEFENDANT’S REPLY BRIEF
21
                                               )
22             v.                              )
                                               )   Date: October 6, 2022
23
      MONGOL NATION,                           )   Time: 3:00 p.m.
24       An unincorporated association,        )   Location: Hon. David O. Carter
25
                                               )   Courtroom
                                               )
26          Defendant.                       )
27
      _______________________________________)

28


                                           1
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1           Defendant Mongol Nation, by and through its counsel of record, hereby files
2
      its Rebuttal to Plaintiff’s Second Submission in Opposition to Defendant’s Second
3

4     Motion for a New Trial.
5
            This rebuttal is based upon the attached, the files and records in this case,
6

7
      and such further evidence and argument as the Court may permit.

8     Dated: September 29, 2022                                  Respectfully submitted,
9
                                                                 /s/ Joseph A. Yanny___
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14
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1        I.      INTRODUCTION
2
         The Government claims that there was testimony from numerous witnesses that
3

4     proved Defendant’s (“Mongol Nation” or “Mongols” or “Club”) claim to be untrue
5
      and that there were no witnesses or evidence that support Defendant’s claim.
6

7
      However, this is false because the Government fails to address that David Santillan

8     (“Dave” or “David”) perjured himself on the stand as well as failing to focus on
9
      Defendant’s witnesses (such as Robert Rodriguez and Stephen Stubbs, etc.),
10

11    Exhibits (such as Exhibit 1 through Exhibit 5, Exhibit 7, Exhibit 10B, Exhibit 10C,
12
      Exhibit 13, Exhibit 17, Exhibit 18), and the testimony of both David Santillan and
13

14
      John Ciccone as to the relationship of David Santillan with John Ciccone

15    (“Ciccone”) and the ATF. The Government also falsely states that it is the Defense
16
      that has the burden. However, contrary to Plaintiff’s assertions, once a defendant
17

18    demonstrates that the confidential relationship between the attorney and the client
19
      was violated because of government intrusion into the attorney-client relationship,
20

21
      it is the Government’s burden “to show that the defendant was not prejudiced; that

22    burden is a demanding one.” United States v. DeCologero, 530 F. 3d 36, 64 (1st
23
      Cir. 2008).
24

25       II.     ARGUMENT
26
               A. Government Wrongly Argues Defendant Has Not Met Its Burden
27

28
         i.      Newly Discovered Evidence
                                             1
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1           The Government claims that Defendant did not show any newly discovered
2
      evidence. However, Defendant provided the Court with new evidence including,
3

4     but not limited to, Exhibit 1, Exhibit 1A, and Exhibit 2, a video with its transcript
5
      and a text message created and sent by Annie Santillan (“Annie”), David’s wife, to
6

7
      two Mongols members saying that David was simply a “rat”, a “CI”. Defendant

8     also provided Exhibit 3, a photo of David Santillan with Christopher Cervantes
9
      (“Cervantes”), a retired Montebello Police Officer and ATF Task Force member,
10

11    having a beer together at a bowling alley in Diamond Bar less than 20 miles away
12
      from David’s residence showing the two men had an ongoing relationship. Once
13

14
      the Defense received the video (Exhibit 1) and text message (Exhibit 2), their

15    investigation began and more information unraveled, such as David’s involvement
16
      with the Mexican Mafia (Exhibit 13) and an FBI interview with Ciccone
17

18    discussing his relationship with David (Exhibit 17). Furthermore, the Defendant
19
      produced evidence from prior cases (Exhibit 13, Exhibit 15, Exhibit 16, Exhibit
20

21
      18) that strengthen Defendant’s allegations.

22          The Government states that the Mexican Mafia evidence and witnesses did
23
      not appear to be relevant. This is incorrect because the Mexican Mafia evidence
24

25    and witnesses show that Ciccone knew in January 2010 that David was working
26
      with the Mexican Mafia in a conspiracy to extort and extort other third parties.
27

28
      Additionally, David was embezzling tens of thousands of dollars per month from
                                              2
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1     the Club and its members after becoming President, it seems implausible that the
2
      Government did not know this fact. These facts both show why David was afraid
3

4     to be indicted and why he vehemently demanded that he and Ciccone were not to
5
      be called to testify in the jury trial. The Government says that the Mexican Mafia
6

7
      incidents would have occurred years before and are not new evidence, however the

8     Defense did not discover that Dave was involved with the Mexican Mafia until
9
      now and therefore, would be considered new evidence. The incidents happened
10

11    while Dave was the National President of the Mongols and during the time
12
      Ciccone was infiltrating both the Mongols and the Mexican Mafia (includes
13

14
      Maravilla).

15       The Government states that the Law enforcement contacts with Dave were all
16
      in front of other members – even hundreds of other members. However, that
17

18    contradicts the direct testimony of Robert Rodriguez and Stephen Stubbs, both of
19
      whom testified Dave would go off with Ciccone on his own and have private
20

21
      discussions, including daily meetings at Starbucks during trial. Ciccone also

22    testified that there were times where he and Dave called and texted each other.
23
      Unless every contact was in a group text or by conference call, there were no
24

25    witnesses or Club members present. (Transcript - August 25, Volume 2, Page 70,
26
      Line 15). We don’t know if Dave was an undercover, a formal confidential
27

28
      informant who is paid, or whether Dave was simply “a cooperating source” (as FBI

                                            3
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1     agent Joseph Talamantez testified in US v. Zandajas case) to wit: which is
2
      someone who is protected by the Government in exchange for “playing ball” and
3

4     cooperating in some fashion with the Government. Transcript of Mr. Talamantez
5
      testimony available upon request.
6

7
         ii.    Government Wrongly Claims Defendant Did Not Show That It Was
                Diligent
8

9
         Defendants have made at least a prima facia showing of the accuracy of the
10

11    allegations against David which form the basis of the instant motion. It was not
12
      until July of 2021, that Annie published her now infamous video (Exhibit 1 and
13

14
      Exhibit 1A) and text message (Exhibit 2) to Club brothers indicating for the first

15    time the existence of newly discovered evidence relevant to this motion. This
16
      Court has not yet indicated to the Court of Appeals in a request for partial remand
17

18    of jurisdiction that the “… motion raises a substantial issue…” Fed. Rules of Crim.
19
      Pro. Rule 37. That would then permit Defense to have complete and open
20

21
      discovery which it has not yet had. Within four months from the Mongols

22    discovering these allegations, they completed their preliminary investigation and
23
      filed the instant motion.
24

25       iii.   Government Wrongly Claims Defendant Did Not Show New Evidence
                That Was Material to Trial Issues, Not Cumulative or Merely Impeaching
26

27

28                                           4
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1        The Government also wrongly claims that the evidence which Defendant
2
      presents by this motion is not material to trial issues. Again, both the applied
3

4     standard and the application of that standard by the Government are misplaced.
5
      Hoffa v. United States, 385 U.S. 293, 87 S.Ct. 408, 17 L.Ed.2d 374 (1966); Black
6

7
      v. United States, 385 U.S. 26, 87 S.Ct. 190, 17 L.Ed.2d 26 (1966). ” United States

8     v. Zarzour, 432 F.2d 1, 3 (5th Cir. 1970). In a setting where a motion of new trial,
9
      or setting aside of a conviction, or dismissal is premised on Government
10

11    misconduct invasive of a Defendant’s sixth amendment and due process rights,
12
      there could be nothing more material.
13

14
         iv.    Government Wrongly Claims Defendant Did Not Show That a New Trial
                Would Probably Result in Acquittal
15

16       The Government again misses the point with its argument that the Defendant,
17
      did not show that a new trial would result in an acquittal. They couldn’t be more
18
      wrong. The primary remedy where a motion is made to vacate a conviction and
19

20    obtain a new trial for Government misconduct, unethically invasive of a
21
      defendant’s sixth amendment and due process rights, is a striking of the operative
22

23    pleading and an entry of a judgment of acquittal. Citing again, Berger v. United
24
      States, 295 U.S. 88 (1935). This is especially true whereas in the instant case all of
25
      the guilty individuals in the prosecution’s litany of bad deeds, have been convicted
26

27    and punished for their misconduct, if any, by way of separate proceedings. In a
28
                                            5
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1     similar vein, not unexpectedly, the Government while arguing that Mongol
2
      member David Martinez killed officer Diamond as he entered the Martinez
3

4     residence at 4 a.m. but fails to inform the Court that Martinez was acquitted of
5
      First-Degree Murder charges in January 2019, on those allegations. Similarly, the
6

7
      Government argues about Mongol member Christopher Ablett’s killing of Hells

8     Angels’ member Mark Guardado in San Francisco, Guardado being one of five
9
      Hells Angels attacking Ablett that evening. However, the Government fails to
10

11    mention that the jury in our instant case made a finding of not proven against the
12
      Mongols for Ablett’s activities in December of 2018. Thereby negating any
13

14
      necessity to retry that issue.

15          B. Annie’s Questionable Testimony
16
            The Government uses Annie’s testimony to try to prove that Dave was not
17

18    an informant. However, the Government does not use specific testimony from
19
      Annie that discredits her, such as, on June 6th Annie said her daughter Hunter
20

21
      videotaped Exhibit 1. (Transcript – June 6, Volume 1, Page 26, Line 12). On June

22    28th, Annie said her daughter Brittany videotaped Exhibit 1 and that only one
23
      daughter was in the room. When Counsel confirmed it was Brittany, Annie then
24

25    changed her answer and said Hunter did the videotaping and said both daughters
26
      were in the room. (Transcript - June 28, Volume 1- Page 12, line 21). Additionally,
27

28
      Annie was asked if she knew what Dave was talking about in the video (Exhibit 1),
                                         6
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1     she stated she didn’t know. However, Annie must have understood what Dave was
2
      talking about because she determined that he was a rat and sent the video and text
3

4     message to Club brothers.
5
            “Q. Do you have an understanding of who he was talking about?
6

7
            A. Not at the time.

8           Q. You didn’t know John Ciccone?
9
            A. I didn’t know who he was referring to at the time.”
10

11    (Transcript - June 6, Page 35, Line 21). At the next hearing, Annie’s testimony
12
      showed that she knew who Dave was talking about at the time in the video.
13

14
            “Q. What in that video that David said led you to believe that you could
            represent him as a rat?
15

16          A. I guess ’cause he said that name.
17
            Q. Oh, “that name” like?
18
            A. John.
19

20          Q. John Ciccone?
21
            A. He didn’t say his last name, but I guess I just kinda ran with it.
22

23          Q. But you knew who he was talking about.
24
            A. I guess I did, yeah…”
25
      (Transcript - June 28 Volume 1, Page 26, Line 3). Annie further testifies:
26

27

28                                             7
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1           “Q. What made you believe the name “John” and the indication that he was
2           protecting him made you believe that it would appear that Dave was a rat to
            the members of the club?
3

4           A. I obviously went back to the video, saw the video and used it the way I
            wanted it to be used, and sent out, because things had transpired from then to
5
            July 4th, and that’s when I decided to send the video and use it against
6           him.”
7
      (Transcript - June 28, Volume 1, Page 27, Line 17).
8

9           “Q. [I’m going] to ask you again: What in the video led you to believe that
            you could use that video’s contents to portray David as a rat?
10

11          A. John. Cause he said the name “John.” So, I thought I would use it to my
            advantage and see if I can get this to stick.
12

13          Q. […] How many Johns do you know in your life?
14
            A. In this world, in this club, they know who “John” is.
15

16          Q. Everybody. And so did you?
17
            A. [...] Yeah”
18
      (Transcript - June 28, Volume 1, Page 28, line 6). Her lack of credibility continues
19

20    with her questionable reasoning:
21
            “Q. You could have done many other kinds of things to hurt him. Such as
22          turn him into the cops for drugs. He was in possession of them, wasn’t he?
23
            A. That’s not true. I knew he was using drugs, but how would I turn him in
24
            for having drugs on him? I didn’t know when he had drugs on him.
25
            Q. Well, when you talked to him you could pretty much be certain he was
26
            loaded couldn't you?
27

28
                                             8
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1           A. I could tell that he was inebriated, but I didn’t know if he was on drugs at
2           that moment. And I don’t think the police would go over there because I’m
            telling them go over there, he’s on drugs.”
3

4     (Transcript - June 6, Volume 1, Page 53, Line 13). If Annie’s moral compass
5
      guides her to not call the cops in an effort to “destroy” Dave when he may or may
6

7
      not have drugs on him, why would she send the video and text messages to the

8     Club brothers if she was not certain he was a rat?
9
            In addition, the Government includes Annie’s testimony that “David was
10

11    never alone.” (Transcript - June 28 Volume 1- Page 41, Line 11). However, the
12
      Government did not include Defense counsel’s re-direct when he asked Annie:
13

14
            “Q. Annie, you weren’t typically involved in club business, were you?

15          A. No.
16
            Q. So you wouldn’t know what David was doing all the time on behalf of
17
            the club or as a club member, would you?
18
            A. No.
19

20          Q. So if David were out someplace and having a meeting with John Ciccone,
21
            you wouldn’t necessarily know, would you?

22          A. No.
23
            Q. If he were having conversations with John Ciccone or someone else from
24
            the ATF or the government, you wouldn’t necessarily know, would you?
25
            A. No.
26

27          Q. You don’t check his phone to see who he calls, do you?
28

                                            9
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1           A. No”
2
      (Transcript - June 28, Volume 1, Page 55, Line 21). Annie switched her testimony
3

4     multiple times, as seen below where she and Dave contradict each other’s
5
      testimony. Annie’s testimony is weak, and to rely on her testimony is misplaced.
6

7
            C. Dave is Not a Credible Witness

8           The Government also relies on Dave’s testimony; however, Dave was found
9
      to have lied about many things on the stand. When asked about whether David
10

11    abused Annie, Annie testified that she got a restraining order to “keep ‘em away
12
      from me because he abused me physically in Rosarito[…] in front of everybody.”
13

14
      (Transcript - June 28, Volume 1- page 11, Line 6). Annie further testified about her

15    abuse from Dave, that she “had bruising on” her “mouth.” (Transcript - June 28
16
      Volume 1, page 13, line 6). Furthermore, Annie provides more testimony and said
17

18    that Dave hit her. (Transcript - June 28, Volume 1, Page 30 Line 15). When David
19
      took the stand, he was asked if he hit Annie, David testified he “did not.”
20

21
      (Transcript - June 28 Volume 1, Page 79, Line 5). David also lied on the stand

22    when he was asked about whether he was on drugs during the video (Exhibit 1):
23
            “Q. You were obviously intoxicated on something at the time that tape was
24
            made, were you not?
25
            A. Yeah, alcohol.
26

27          Q. What about any drugs?
28
                                               10
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1           A. Alcohol. No drugs.”
2
      (Transcript - June 28 Volume, Page 81, Line 1). Annie’s testimony says something
3

4     different:
5
            “Q. Did you ever ask him what he meant about… “He can't protect me
6           anymore?”
7
            A. No, I didn't.
8

9           Q. Weren’t you interested?
10
            A. He wasn't making sense. He needed help. He was on drugs.” (emphasis
11
            added).
12

13    (Transcript - June 28 Volume 1, page 18, line 13). Another time Dave lied on the
14
      stand was when he was questioned about “Hawk,” an individual that shadowed
15

16    Dave when Dave met with Ralph Rocha to extort and conspire to extort. Dave said
17
      he had “no idea” who Hawk was. (Transcript - June 28 Volume, Page 73, Line 23).
18
      Then on the September 7th hearing, Dave was asked again about Hawk, and he
19

20    said he didn’t know. (Transcript - September 7, Volume 1, Page 94, Line 20).
21
      However, after Defense counsel showed Exhibit 19, a video of Dave talking about
22

23    Hawk, Dave’s testimony changed:
24
            “Q. Who’s “Fat ass Hawk”?
25

26          A. He’s out bad. An old member… for like two months.
27

28          Q. He was a member in 2009, though, right?
                                            11
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1           A. I guess. I don’t know. It’s been a long time. He hasn’t been in the club,
2           like, over 14 years. 13 years, whatever it is.”
3     (Transcript - September 7, Volume 1, Page 96, Line 5). “Hawk” was in the Club 13
4
      years ago, which would line up with the meeting Dave had with Ralph Rocha
5

6     regarding extortion and conspiracy to extort in Exhibit 13. All of these examples,
7
      show that Mr. Santillan does not care whether he is perjuring himself.
8

9        Additionally, when Ciccone took the stand, he testified that he had called Dave
10
      before and that they had texted before. (Transcript - September 7, Volume 1, Page
11

12    60, Line 13). However, Dave testified that he did not have Ciccone’s phone
13
      number, he never called Ciccone, he never texted Ciccone, Ciccone never called
14

15    him, and that Ciccone never texted him. (Transcript - September 7, Volume 1,
16    Page 106, Line 21).
17

18       Mr. Santillan is only interested in aimlessly protecting his self-respect by
19
      denying the abuse of his wife, deflecting his involvement with the Mexican Mafia
20

21    and his conspiracy to extort, and lying about his “inappropriate relationship” with
22
      John Ciccone, a member of the Prosecution Team. The Government erroneously
23

24
      relies on David’s perjured testimony to sidestep the allegations that David Santillan

25    is, and has been, a cooperator with the Prosecution in this case.
26

27       D. Testimony the Government Forgot to Mention
28                                           12
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1           Dave also lied on the stand that he did not meet with Ralph Rocha at
2
      Denny’s. However, Defendant’s witness, Arturo Garcia, testified that he was Ralph
3

4     Rocha’s shadow and Hawk was Dave’s shadow during their meeting regarding
5
      extortion and conspiracy to extort depicted in Exhibit 13. (Transcript - July 25,
6

7
      Volume 1, Page 50, Line2).

8
            The Government mentioned David’s testimony regarding a vote in the
9

10    courthouse hallway to not put him and Ciccone on the stand, and that the Mongols
11
      knew Dave was not going to take the stand. However, the Government forgets to
12

13    mention the testimony from Mother Chapter Club member, Robert Rodriguez, who
14
      testified there was no discussion with the Club that Dave and Ciccone should not
15
      take the stand, that Dave did not discuss any of the trial with the Club whatsoever,
16

17    and that there were times that Dave would go off with Ciccone by himself.
18
      (Transcript - August 25, Volume 2, Page 70, Line15). Furthermore, Stephen
19

20    Stubbs testified that there was no vote in the courthouse hallway with the Defense
21
      team regarding whether or not Dave and Ciccone should take the stand. (Transcript
22
      - August 25, Volume 1, Page 61, Line 1). Mr. Stubbs also testified that he has
23

24    witnessed “Dave wav[ing] everybody off” to speak “to Ciccone alone.” (Transcript
25
      - August 25, Volume 2, Page 19, Line 9).
26

27

28
                                            13
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1           The Government also relies on David when he testified that he did not meet
2
      with Ciccone. However, Mr. Stubbs testified that David told him that he was
3

4     meeting with Ciccone every morning until Judge Carter told them not to.
5
      (Transcript - August 25, Volume 1, Page 44, Line 2).
6

7
            The Government does not address the fact that David Santillan threatened
8
      the entire Defense team and their families if he or John Ciccone were called to the
9

10    stand. David knew that Ciccone, at a minimum, was an essential witness to cover
11
      all the bases on culpability. (Transcript - August 25, Volume 1, Page 52, Line 17)
12

13    (See Exhibit 4 and Exhibit 7). The Government further relies on the testimony of
14
      David Santillan, who clearly shows the Court that he is not afraid to perjure
15
      himself, and that he is more likely to tell the truth when under the influence instead
16

17    of under oath.
18

19          Some of the witnesses that have been called to this matter are current or
20
      former law enforcement personnel. While there is a tendency to blindly trust the
21

22    testimony of law enforcement, it is the result of a misplaced trust. We ask the
23    Court to take note of a study regarding the proclivity to the members of law
24
      enforcement to perjure themselves. Although the study was based upon New York
25

26    law enforcement around the turn of the century, we don’t believe that the change of
27
      coasts or the passing of 22 years discredits its contemplation. The bottom line of
28
                                            14
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1     the study is that over 75% of law enforcement personnel indicated they were
2
      willing to commit perjury to get a conviction. (See
3

4     https://www.ojp.gov/ncjrs/virtual-library/abstracts/police-perjury-factorial-survey).
5
      That’s compounded to this case once again with the fact that we are dealing with
6

7
      the ATF, with folks in large part brought you Randy Weaver, Waco Texas, the Fast

8     and the Furious, the Stash House cases, Dobyns v. US, etc.
9

10       III.   CONCLUSION
11
            The only fair, just, and equitable thing to be done, given the available facts
12

13    and the applicable legal standard, is to vacate the conviction in this case in favor of
14
      a new trial and then grant a dismissal of the superseding indictment in this case.
15
      That should be followed by an order returning all fines and penalties forfeited to
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17    the Government as a result of this conviction together with an award of all
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      attorney’s fees incurred by the Mongol Nation in defense of this circus. At a
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20    minimum, this Court should give notice to the Court of Appeals that it seeks a
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      remand of jurisdiction sufficient to permit further discovery and evidentiary
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      hearings to get to the bottom of what exactly happened in this case. The
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24    misconduct engaged in by the Government in this case, is of such a nature that it
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      may well violated title 18 U.S. Code § 371, and should not go underdress.
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27     Respectfully submitted:                              /s/ Joseph A. Yanny___
                                                             Attorney for Defendant
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